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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF LOUISIANA


DR. DOROTHY NAIRNE, JARRETT
LOFTON, REV. CLEE EARNEST LOWE, DR.
ALICE WASHINGTON, STEVEN HARRIS,
ALEXIS CALHOUN, BLACK VOTERS
MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
CONFERENCE OF THE NAACP,                        CIVIL ACTION NO. 3:22-cv-00178
                                                SDD-SDJ
                           Plaintiffs,

      v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana,

                           Defendant.


             PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
             MOTION TO EXCLUDE PROPOSED EXPERT TESTIMONY
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                                        INTRODUCTION

       Only months ago, in Allen v. Milligan, the Supreme Court declined to “remake [its] § 2 [of

the Voting Rights Act] jurisprudence anew.” 599 U.S. 1, 23 (2023). That jurisprudence includes

the familiar Gingles pre-conditions—(1) a minority group must be sufficiently large and

geographically compact to constitute the majority in a single district; (2) the minority group must

be politically cohesive; and (3) white majority voters vote sufficiently as a bloc to enable it to

defeat the minority group’s preferred candidate—and a totality of the circumstances analysis. Id.

at 18; see also Thornburg v. Gingles, 478 U.S. 30, 36, 51 (1986). Plaintiffs have offered experts

to prove that each of these pre-conditions and the totality of the circumstances demonstrate that

Louisiana’s state legislative maps violate Section 2.

       Undeterred by Milligan and unable to rebut Plaintiffs’ showing of the Gingles

preconditions, Defendants instead seek to muddle this case by asking this Court to stray from the

clear tests set out to meet each of the three preconditions in defiance of the Supreme Court’s clear

directives. Specifically, their experts—Sean Trende, Dr. Douglas Johnson, and Dr. Tumulesh K.S.

Solanky—offer testimony that has no bearing on the prevailing Section 2 inquiry and is based on

unreliable methodology and expertise. The Court should exclude their testimony, in accordance

with the requirements of Federal Rule of Evidence 702.

                                      LEGAL STANDARD

       Expert testimony must be qualified, reliable, and relevant to be admissible. Daubert v.

Merrell Dow Pharms., Inc., 509 U.S. 579 (1993); Fed. R. Ev. 702. Courts act as gatekeepers to

ensure expert testimony meets these requirements. The “Federal Rules of Evidence ‘assign to the

trial judge the task of ensuring that an expert’s testimony both rests on a reliable foundation and is

relevant to the task at hand.’” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999) (quoting

Daubert, 509 U.S. at 597). “The proponent of expert testimony bears the burden of establishing


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the reliability of the expert’s testimony.” Sims v. Kia Motors of Am., Inc., 839 F.3d 393, 400 (5th

Cir. 2016). A court may exclude “opinion evidence that is connected to existing data only by the

ipse dixit of the expert.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

       Courts apply a “five-factor, non-exclusive, flexible test” to determine reliability under

Daubert: (1) whether the theory has been tested; (2) whether it has been subject to peer review and

publication; (3) its known or potential rate of error; (4) the existence and maintenance of standards

and controls; and (5) the degree to which the theory has been generally accepted in the scientific

community. Moore v. Ashland Chem. Inc., 151 F.3d 269, 275 (5th Cir. 1998) (en banc). The

testimony offered by Mr. Trende, Dr. Johnson, and Dr. Solanky fails this test.

                                          ARGUMENT

  I.   Sean Trende’s testimony is unreliable and irrelevant to Gingles I.

       Defendants offer Sean Trende as a rebuttal expert to Plaintiffs’ Gingles I expert, William

Cooper. As required by Gingles I, Mr. Cooper has created illustrative House and Senate plans that

include additional Black-majority districts to “establish that Black voters as a group are

‘sufficiently large and geographically compact to constitute a majority in some reasonably

configured legislative district.’” Robinson v. Ardoin, 605 F. Supp. 3d 759, 778 (M.D. La. 2023)

(subsequent history omitted) (quoting Cooper v. Harris, 581 U.S. 285, 301 (2017)).

       Mr. Trende uses two algorithms “to identify compact population clusters” and find “the

most compact Black population” within each of Mr. Cooper’s illustrative districts—purporting to

focus on the compactness of the Black community, rather than the whole district Mr. Cooper has

drawn. See Ex. A, Trende Report at 15–16. Trende’s first algorithm uses the moment of inertia

(“MOI”) algorithmic method to draw what he considers “the most compact” groupings of the

Black voting age population (“BVAP”) that can constitute a majority within a district, based on

the smallest population distribution. Id. at 15. He does this by weighting BVAP, combining


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neighboring precincts into clusters, and having the algorithm stop once a BVAP sufficient to meet

the number necessary for 50%-plus-one BVAP is reached. Id. at 15–16. His second algorithm,

purportedly derived from the method used by Professors Jowei Chen and Jonathan Rodden (the

“Chen and Rodden” method, discussed in more detail below), is similar to the first, but weights

precinct size instead of BVAP. Id. at 16. These algorithms do not create whole districts, but rather

draw shapes that group together a threshold number of Black adults; once the shape includes

enough Black adults to constitute a majority in a whole district, the algorithm goes no further. Id.

at 16–17. Trende then opines whether the Black population within Mr. Cooper’s illustrative

districts is compact based on his subjective visual inspection. Ex. B, Trende Dep. Tr. 88:4. His

novel approach finds no support in peer-reviewed literature and seeks to redefine the Court’s

Gingles I inquiry.

        A.       Trende’s method is unreliable.

        Trende’s analysis fails Daubert’s reliability test because it is untested and has no

identifiable support in political science literature or by courts. See Moore, 151 F.3d at 275; see

also Ex. B, Trende Dep. Tr. 66:10–67:1. As indicated above, Trende uses two algorithms to draw

BVAP groupings within a district, stopping once the algorithm has grouped together enough

BVAP to constitute a majority within a district. Trende references several papers to bolster his first

algorithm, in which he uses a MOI method based on BVAP. Ex. A, Trende Report at 14–15. But

all of those cited papers focus on generating or measuring whole districts0F0F0F 1—something



1
  See Micah Altman, Modeling the Effect of Mandatory District Compactness on Partisan Gerrymanders, 17 Pol.
Geog. 989, 990 (1998) (using MOI to draw “thousands of compact district plans”); James B. Weaver & Sidney W.
Hess, A Procedure for Nonpartisan Districting: Development of Computer Techniques, 73 Yale L. J. 228, 304–05
(1963) (drawing districting proposals in Delaware); Isobel M.L. Robertson, The Delimitation of Local Government
Electoral Areas in Scotland, 33 J. Operational Rsch. Soc. 51, 517 (1982) (districting proposals in Scotland); S.W.
Hess, et al., Nonpartisan Political Redistricting by Computer, 13 Operations Rsch. 998, 1001–03 (1965) (drawing
whole districts for New Castle County Council, Delaware Legislature, and Connecticut Legislature); Henry F. Kaiser,
An Objective Method for Establishing Legislative Districts, 10 Midwest J. Pol. Sci. 200, 208 (1966) (using MOI to
generate compactness scores of existing Illinois districts).



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Trende does not do. Instead, his algorithm draws the most compact BVAP grouping within an area

using only BVAP, with a control to combine nearby precincts that have high Black populations.

This method ignores other redistricting criteria that might inform a whole district, such as equal

population, contiguity, communities of interest, and others. Ex. B, Trende Dep. Tr. 59:4–9; see

also Ex. A, Trende Report at 15–17 (drawing BVAP configuration using MOI method that is non-

contiguous). Trende concedes that his approach does not generate viable districts, let alone whole

maps, and draws shapes that are neither contiguous nor equal in population. Ex. B, Trende Dep.

Tr. 84:18–19 (“[T]he point here is not to the draw the district.”).

       Similarly, Trende’s second method stands in contrast to the Chen and Rodden method he

invokes. Unlike Trende, Chen and Rodden focus on whole districts and create statewide maps,

using an algorithm to simulate hundreds of maps. See Ex. C, Jowei Chen & Jonathan Rodden,

Unintentional Gerrymandering: Political Geography and Electoral Bias in Legislatures, 8 Q.J.

Poli. Sci. 239 (2013). And unlike Trende’s, Chen and Rodden’s algorithm controls for both equal

population and contiguity. Compare id. at 249 (“Our challenge is to guarantee equal apportionment

of population while requiring geographic contiguity for all simulated districts.”), with Ex. A,

Trende Report at 17, 107, 116 (images where BVAP groupings have holes); id. at 117 (image

where BVAP grouping includes noncontiguous islands); Ex. B, Trende Dep. Tr. 83:4–84:18

(Trende conceding non-contiguous shapes); id. at 100:16–19 (Trende conceding his algorithm

does not equalize population). Trende further deviates from Chen and Rodden’s methodologies by

altering factors in the analysis, namely weights for district size and population; this causes his

analysis to more heavily favor the packing of urban populations than the Chen and Rodden method.

See Ex. B, Trende Dep. Tr. 109:4–109; 110:21–24; 113:16–18. At best, the existing literature “only

provide[s] an arguable inferential starting point” for using an MOI-based algorithm in the way




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Trende does, casting doubts on his method’s reliability. LeBlanc ex rel. Est. of LeBlanc v. Chevron

USA, Inc., 396 F. App’x 94, 99 (5th Cir. 2010); see also Johnson v. Arkema, Inc., 685 F.3d 452,

459, 467 (5th Cir. 2012) (absence of testing in peer-reviewed publication makes method less

reliable); Ex. B, Trende Dep. Tr. 66:6–24.

        Even worse, no court has ever used or credited Trende’s modified methods. Trende

admitted that he has never before used MOI to assess compactness, even though he has previously

served as an expert in redistricting cases, advised independent redistricting commissions, and

drawn statewide district maps.1F1F1F 2 See Ex. B, Trende Dep. Tr. 54:23–55:11; 75:18–76:15.

While Trende attempted to argue in rebuttal that, until recently, his novel methodology employed

here was “impractical” due to “technological constraints,” Ex. D, Trende Reply at 2; see also Ex.

B, Trende Dep. Tr. 74:20–21, he admitted at deposition that the necessary technology has existed

for twenty (20) years, id. at 74:22–75:1. Despite this, Trende cannot point to any court cases where

this methodology was utilized, let alone credited, to assess compactness. Id. at 75:2–11. Trende

admitted in his deposition that he has only employed the methodology here, as opposed to his other

redistricting work, at the request of counsel to meet their new legal theory. Id. at 73:6–19; 75:2–

11.

        Trende’s unreliable and untested methodology culminates in his ipse dixit opinion. Once

his algorithm has generated a shape, Trende deems population clusters non-compact, based only

on “[l]ooking at the map.” Ex. B, Trende Dep. Tr. 88:4. The Court should exclude this “opinion



2
 In his prior redistricting work, Trende has most often used Reock and Polsby-Popper as metrics of compactness. Ex.
B, Trende Dep. Tr. 62:25–64:18, 125:22–130:21; see also, e.g., Ariz. Indep. Redistricting Comm’n, Overview of
Decennial Redistricting Process and Maps, Appendix B at 12–13 (Jan. 2022), https://rb.gy/vp2rr (Reock and Polsby-
Popper) (acting as Voting Rights Act expert); Expert Report of Sean P. Trende at 17, Harkenrider v. Hochul, 38
N.Y.3d 494 (2022) (Polsby-Popper), https://rb.gy/4h6a1; Report of the Special Magistrate at 25, In the Matter of the
2022 Legislative Districting of the state, 481 Md. 507 (Md. 2022) https://rb.gy/r5cnq, (Reock, Polsby-Popper,
Schwartzberg, and Convex Hull); Memo from Bernard Grofman and Sean Trende to the Supreme Court of Virginia
(Dec. 27, 2021), https://rb.gy/xvuqz (Reock and Polsby-Popper).



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evidence that is connected to existing data only by the ipse dixit of the expert.” Joiner, 522 U.S. at

146; see also Matosky v. Manning, 428 F. App’x 293, 298 (5th Cir. 2011) (opinion properly

excluded when based on “conclusory assertion”). Further, Trende’s conclusory opinion encroaches

on the Court’s role. “The use of any eyeball test to assess irregularities . . . is necessarily a matter

for the factfinder.” Alpha Phi Alpha Fraternity, Inc. v. Raffensperger, No. 1:21-CV-5337-SCJ,

2023 WL 5674599, at *11 (N.D. Ga. July 17, 2023) (internal quotations omitted); see also Ex. B,

Trende Dep. Tr. 87:13–24 (“[T]he finder of fact is going to have to decide whether it is reasonable

or not. In my opinion . . . that’s not compact under any reasonable definition of the term. The fact

finder might ultimately disagree with that though.”).

        In short, Trende’s modified methods to assess compactness are untested, lack peer review,

and have never been used by Trende, other experts in this field, or by fellow courts. They culminate

in a conclusory say-so based on subjective visual assessments. Trende’s testimony should be

precluded.

        B.      Trende’s testimony is irrelevant.

        Even if Trende’s testimony were reliable (it is not), it is plainly irrelevant. Rule 702

requires expert testimony to be relevant. Fed. R. Civ. P. 702(a); see also Daubert, 509 U.S. at 591

(“Expert testimony which does not relate to any issue in the case is not relevant and, ergo, non-

helpful.” (citation omitted)); In re: Taxotere (Docetaxel) Prod. Liab. Litig., 26 F.4th 256, 268 (5th

Cir. 2022) (“To be relevant, the expert’s reasoning or methodology [must] be properly applied to

the facts in issue.” (citing Puga v. RCX Sols., Inc., 922 F.3d 285, 293 (5th Cir. 2019))).

        Trende’s testimony does not speak to the Gingles I question before the Court. The first

Gingles precondition “focuse[s] on geographical compactness and numerosity, [and] is ‘needed to

establish that the minority has the potential to elect a representative of its own choice in some

single-member district.’” Milligan, 599 U.S. at 18 (quoting Growe v. Emison, 507 U.S. 25, 40


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(1993)). This precondition is satisfied by showing that “the minority group [is] sufficiently large

and geographically compact to constitute a majority in a reasonably configured district.” Id. “A

district will be reasonably configured . . . if it comports with traditional districting criteria, such as

being contiguous and reasonably compact” and “respect[ing] existing political subdivisions, such

as counties, cities, and towns.” Id. at 18, 20 (citing Ala. Legis. Black Caucus v. Alabama, 575 U.S.

254, 272 (2015)); see also Bush v. Vera, 517 U.S. 952, 977 (1996). In other words, this inquiry

requires showing that a Gingles I illustrative majority-minority district is compact. See, e.g.,

Milligan, 599 U.S. at 20 (accepting the district court’s factual finding that the plaintiffs’ “eleven

illustrative maps—that is, example districting maps that Alabama could enact” were sufficiently

compact); Robinson v. Ardoin, 37 F.4th 208, 217 (5th Cir. 2022) (accepting the district court’s

“holding that the plaintiffs satisfied Gingles’s compactness requirement” with their “new majority-

minority district”). Plaintiffs make this showing through drawing a district that is 50% plus one in

minority population, in accordance with the traditional redistricting criteria, and then running

standard compactness measures to score the district. See, e.g., Milligan, 599 U.S. at 20 (favorably

citing William Cooper’s illustrative plans).

        Bucking this question, Defendants seemingly seek to invoke League of United Latin

American Citizens v. Perry (“LULAC”), 548 U.S. 399 (2006), as prohibiting illustrative districts

that draw different minority communities together when the distance between them exceeds some

unspecified threshold, or when there is a white population interspersed between them. LULAC

does no such thing: the Court “accept[ed] that in some cases members of a racial group in different

areas—for example, rural and urban communities—could share similar interests and therefore

form a compact district if the areas are in reasonably close proximity.” Id. at 435. Just recently,

Milligan held that an illustrative district joining an urban city with a rural community was




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reasonably configured. 599 U.S. at 19–21. Notwithstanding the Supreme Court’s recent

reaffirmation of the familiar Gingles framework, Defendants seek to use Trende’s testimony to

upend it.

       Trende’s testimony does not reference data applicable to the recently reaffirmed Gingles I

test—i.e., assessing whether districts are sufficiently compact. Ex. B, Trende Dep. Tr. 128:20–22

(“I haven’t done any work one way or the other on the district level compactness of the maps.”).

Instead, Trende assesses the compactness of the minority population, generally. See Ex. A, Trende

Report 14 (“I utilize the moment of inertia method of calculating the compactness of a

population.”). Trende acknowledges that his approach reflects a novel legal theory offered by

Defendants. Ex. B, Trende Dep. Tr. 73:17–19 (“[M]y understanding is that the legal theory being

propounded here isn’t one that’s been thoroughly explored.”). Trende further acknowledges—as

he must—that Gingles I centers on district compactness, not the compactness of the minority

population. Id. at 62:25–63:2 (“I’m not really aware of cases where people have tried to quantify

the compactness of the population.”); Ex. D, Trende Reply at 2 (“It’s true that most litigation

focuses on the compactness of the district shape.”). Indeed, Trende himself has conducted analyses

of district compactness in connection with Section 2 claims in the past. See supra n.2.

       By failing to analyze compactness in the ways courts do, Trende’s analysis—which ignores

district compactness and offers no assessment of the compactness of Plaintiffs’ illustrative

districts—bears no relevance to Plaintiffs’ Section 2 claims. The Court should preclude it.

       C.      Trende is not qualified to offer his opinion.

       Finally, Trende is not qualified to provide the opinions offered. He lacks “experience, skill,

training or specialized knowledge in the simulation analysis methodology that he employed to

reach his conclusions.” Robinson, 605 F. Supp. 3d at 825. While Plaintiffs acknowledge that

Trende has served as an expert in similar cases previously, Trende admits he has never used his


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novel method for assessing compactness before now, has never published peer reviewed articles

on MOI or other algorithmic computation, and has never used the algorithms used here in his prior

academic work. Ex. B, Trende Dep. Tr. 72:13– 73:5; 40:7–41:22. This Court has rejected the

conclusions of experts with similarly “novice” level experience with simulations. Robinson, 605

F. Supp. 3d at 825. And Trende’s inexperience is all the more concerning because of the novel,

population-level assessment he uses here. Accordingly, Trende lacks the expertise and experience

to offer a novel methodology unmoored from the Gingles preconditions, and his opinion should

be precluded. See Koppell v. N.Y. State Bd. of Elections, 97 F. Supp. 2d 477, 481–82 (S.D.N.Y.

2000) (excluding testimony of political scientist who had “significant political experience,” but

“lack[ed] any particular expertise” on the election practices at issue, and whose work in the area

“has neither been tested nor subject to peer review”).

 II.    Dr. Douglas Johnson’s purported racial predominance analysis of Mr. Cooper’s
        illustrative maps is both irrelevant to Section 2’s legal requirements and unreliable.

        Dr. Johnson describes his “primary opinion” as the conclusion that “race was the

predominant factor in the changes” that Mr. Cooper made to his illustrative maps. Ex. E, Johnson

Surrebuttal at 2. His report (Ex. F at 2) indicates that he was asked to analyze “whether race appears

to be the predominate consideration used in drawing” Mr. Cooper’s illustrative maps in this case,

and he devotes 17 pages in his initial report (Ex. F at 26–42) and nearly half of his surrebuttal

report (Ex. E at 2–3, 6–10) to his purported conclusions that race “drove” the district boundaries

that Mr. Cooper drew. Ex. F, Johnson Report at 26, 35.

        Rather than making an actual showing that race predominated, Dr. Johnson’s reports

merely indicate that Mr. Cooper intentionally drew districts that are “majority-Black,” Ex. F,

Johnson Report at 26, and that those districts were drawn to (a) exceed 50% BVAP, id. at 37–42;

and (b) “perform[] for black preferred candidates,” Ex. E, Johnson Surrebuttal at 2. Dr. Johnson



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then asserts that these facts on their own would amount to proof that “race was the predominant

factor” in drawing Mr. Cooper’s illustrative maps. Id.

        To the extent that Defendants offer Dr. Johnson’s opinions to support the proposition that

an intentional effort to satisfy the Gingles preconditions renders the illustrative maps unlawful,

then Dr. Johnson’s opinions are irrelevant to the current Gingles inquiry. His opinions would only

be relevant if this Court were to overrule Gingles. That is what Alabama asked the Supreme Court

to do in Milligan, and the Supreme Court declined the invitation. 599 U.S. at 30; id. at 42

(Kavanaugh, J., concurring). Accordingly, the Court should preclude Dr. Johnson’s testimony as

irrelevant to the actual legal standard that governs Section 2 claims.

        Even if Dr. Johnson’s conclusions were relevant (and they are not), they are unhelpful and

unreliable. Dr. Johnson has no specialized knowledge that would permit him to opine as to Mr.

Cooper’s subjective motivations in drawing the illustrative maps. Indeed, Plaintiffs have not

identified a single court that has accepted Dr. Johnson’s racial predominance analysis. In contrast,

courts have repeatedly rejected Dr. Johnson’s opinions, and he has done nothing in this case to

assuage the specific concerns that prior courts have enumerated about his methodology and

conclusions about the intent of other mapdrawers. This Court should likewise reject his speculative

opinions.

        A.       Dr. Johnson’s opinions are irrelevant under the Gingles framework that the
                 Supreme Court recently reaffirmed in Milligan.

        Dr. Johnson’s “primary opinion” (Ex. E, Johnson Surrebuttal at 2)—that “race was the

predominant factor in the changes [Mr. Cooper] made” between his 2022 and 2023 illustrative

maps2F2F2F 3—has no bearing on the legal analysis in a Section 2 claim.


3
  It is worth emphasizing the limited scope of Dr. Johnson’s testimony: his conclusions address the changes between
the illustrative maps Mr. Cooper submitted in 2022 and the revised illustrative maps Mr. Cooper submitted in 2023.



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         As an initial matter: Milligan reaffirms that it is permissible to consider race when

developing illustrative maps to satisfy the first Gingles precondition. Indeed, as the majority

stressed, “[t]he very reason a plaintiff adduces a map at the first step of Gingles is precisely because

of its racial composition—that is, because it creates an additional majority-minority district that

does not then exist.” 599 U.S. 1, 34 n.7 (emphasis in original); see also id. at 41 (“[T]his Court

and the lower federal courts . . . have authorized race-based redistricting as a remedy for state

districting maps that violate § 2.”). In holding that the consideration of race does not preclude

satisfying Gingles I, the Supreme Court rejected the argument that the Milligan plaintiffs’

illustrative plans failed Gingles I because race was a consideration in their design. See Milligan,

599 U.S. at 24 (rejecting argument that “the illustrative plan that plaintiffs adduce for the first

Gingles precondition cannot have been ‘based’ on race”).

         Because the Milligan majority never reached the question of whether illustrative maps

developed to satisfy the first Gingles precondition must survive the racial predominance analysis

discussed in racial gerrymandering cases brought under the Equal Protection Clause of the

Fourteenth Amendment,3F3F3F 4 Fifth Circuit precedent establishing that a racial predominance

analysis is not necessary at Gingles I remains controlling. See Clark v. Calhoun Cnty., 88 F.3d

1393, 1406–07 (5th Cir. 1996) (racial predominance analysis is not necessary at Gingles I); see

also Robinson, 37 F.4th at 223 (citing Clark and holding that this Circuit has “rejected the


As a result, Dr. Johnson’s report zooms in on a series of minor changes: as Dr. Johnson admitted in his deposition,
Mr. Cooper’s changes between the 2022 and 2023 illustrative House plans affected less than 2% of the Louisiana
population, and his changes between the 2022 and 2023 illustrative Senate plans affected less than 1% of the Louisiana
population. Ex. G, Johnson Dep. Tr. 90:11–91:17. In discussing compactness, communities of interest, and race
predominance, Dr. Johnson does not compare either set of illustrative maps to the enacted plan. See generally Exs. H
& I; Ex. G, Johnson Dep. Tr. 56:15–19, 57:14–58:7.
4
  The plurality concluded that race had not predominated in the plaintiffs’ illustrative plans, and therefore did not need
to resolve the question of how to apply Gingles I if race does predominate in the creation of an illustrative map. See
Milligan, 599 U.S. at 30–33 (plurality opinion). Justice Kavanaugh also did not address the point directly, but he voted
to affirm the district court’s finding that Gingles I was satisfied notwithstanding the acknowledgment of the plaintiffs’
experts that they considered race as a factor in developing their illustrative plans. See id. at 31 (describing testimony
of demographer Bill Cooper, the same mapdrawer used in this case).



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proposition that a plaintiff’s attempt to satisfy the first Gingles precondition is invalid if the

plaintiff acts with a racial purpose.”).

        Even in racial gerrymandering cases brought under the Fourteenth Amendment, the

Supreme Court has never precluded an illustrative plan from satisfying Gingles I based on a finding

that race predominated. Rather, in such cases, the Supreme Court has focused its Gingles I inquiry

into the map drawing process on questions of whether the map has concluded that the districts at

issue in those cases did not satisfy traditional redistricting principles. See Milligan, 599 U.S. at 27

(in Shaw v. Reno, 509 U.S. 630 (1993), Section 2 did not justify “proposed district [that] was not

reasonably compact”); id. at 27–28 (in Miller v. Johnson, 515 U.S. 900 (1995), VRA provided no

justification for districts that “flout[ed] traditional criteria”); id. at 28 (in Bush v. Vera, 517 U.S.

952 (1996), Section 2 did not provide justification for districts that did not adhere to traditional

redistricting criteria). Put another way, no Supreme Court cases hold that Gingles I cannot be

satisfied where, as here, Plaintiffs’ illustrative map is reasonably configured because it does

comply with traditional redistricting principles.

        What’s more, even assuming arguendo that Dr. Johnson’s assertions about Mr. Cooper’s

subjective motivations in drawing district lines are correct (but see infra at Section II.B),

longstanding precedent precludes this Court from holding that the particular bases on which Dr.

Johnson critiques Mr. Cooper for considering race are examples of impermissible race

predominance. For example, Dr. Johnson fixates on Mr. Cooper’s efforts to create districts that are

majority-Black (Ex. F, Johnson Report at 26), or that have a BVAP exceeding 50% (id. at 27,

32)—as the Supreme Court requires in a Section 2 case, see Bartlett v. Strickland, 556 U.S. 1, 19–

20 (2009)—as support for his conclusion about Mr. Cooper’s “predominate consideration of race

in drawing the illustrative map.” As a matter of law, such a position is foreclosed by Supreme




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Court precedent. In Milligan, the majority recognized that the “very reason a plaintiff adduces a

map at the first step of Gingles is precisely because of its racial composition—that is, because it

creates an additional majority-minority district that does not then exist.” 599 U.S. at 34 n.7. This

is what Gingles I, as construed in Bartlett, 556 U.S. at 19–20, demands, and Milligan makes clear

that attempting to make the required showing does not amount to racial gerrymandering.4F4F4F 5

        Dr. Johnson’s call-out of Mr. Cooper’s alteration of districts to ensure that they perform to

enable Black voters to elect the candidates of their choice (Ex. E, Johnson Surrebuttal at 2) is

similarly irrelevant to the legal analysis of Section 2 claims. The Gingles preconditions require

plaintiffs “to establish that the minority has the potential to elect a representative of its own choice

in some single-member district.” Growe, 507 U.S. at 40. In fact, Dr. Johnson himself admits this

factor is critical for mapdrawers to consider. His own report includes conclusions about the

importance of considering the “sensitivity” of a district, which measures its “likel[ihood] to elect

the candidate preferred by Black voters.” Ex. F, Johnson Report at 38. Dr. Johnson acknowledged

that, when he draws maps, he tries to consider whether a district is likely to elect the candidate

preferred by Black voters. Ex. G, Johnson Dep. Tr. 258:24–259:2; id. at 259:3–7 (“If we’re trying

to [e]mpower a region that has historically been underrepresented, we want to be sure that we get

the right share of the voters to actually [e]mpower them.”). When asked if he thinks it is important

to consider “how to [e]mpower voters and make sure their districts are effective” in drawing maps,

Dr. Johnson responded: “You know, that is very roughly speaking the definition of Section 2 of

the Vot[ing] Rights Act. It’s definitely important.” Id. at 259:8–14. Both the relevant legal




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  See 143 S. Ct. at 1512 (plurality) (rejecting the argument that racial predominance invalidates illustrative maps
created with goal of satisfying Gingles); id. at 1518–19 (Kavanaugh, J., concurring) (explaining that in certain
circumstances, “Gingles requires the creation of a majority-minority district” and that the Constitution does permit
“race-based redistricting”).



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framework and Dr. Johnson’s own concessions confirm that whether Mr. Cooper considered this

“definitely important” factor is not relevant to whether race impermissibly predominated.

         B.       Dr. Johnson’s methodology is just as unreliable as it was the last time(s) it
                  was rejected by a court.

         Dr. Johnson purports to offer expert conclusions that race was the predominant factor

animating Mr. Cooper’s changes between his 2022 and 2023 maps. Dr. Johnson’s assertions about

Mr. Cooper’s motivations stand in express contradiction to Mr. Cooper’s explanation that, while

he “was aware of race, given that the purpose of the Gingles I analysis is to see if additional

compact majority minority districts can be drawn,” he “drew the maps based on traditional

redistricting criteria,” and not predominantly “based on race.” Ex. H, Cooper Rebuttal at 8. But

Dr. Johnson has “no special knowledge that allows [him] to opine as to [Mr. Cooper’s] subjective

intent” when he drew the illustrative maps, Advanced Tech. Incubator, Inc. v. Sharp Corp., No.

2:07-CV-468, 2009 WL 4669854, at *5 (E.D. Tex. Sept. 15, 2009), and he did not employ any

statistical analysis or review all available evidence to rule out the other non-discriminatory

alternative criteria that Mr. Cooper considered. Because Rule 702’s use of the word “knowledge”

to describe an expert’s qualifications “connotes more than subjective belief or unsupported

speculation.” Daubert, 509 U.S. at 590, Dr. Johnson’s testimony should be excluded.

         As a general matter, “[i]nferences about the intent or motive of parties or others lie outside

the bounds of expert testimony,” because “[t]he question of intent is a classic jury question and

not one for the experts.”5F5F5F 6 Even in redistricting cases that allege an intentional gerrymander,

where legislative intent is an element of the claim and experts are called upon to analyze evidence



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 In re Rezulin Prod. Liab. Litig., 309 F. Supp. 2d 531, 546–47 (S.D.N.Y. 2004) (internal citations and quotation marks
omitted); see also Marlin v. Moody Nat. Bank, N.A., 248 F. App’x 534, 541 (5th Cir. 2007) (“an expert’s conclusory
assertions regarding a defendant’s state of mind are not helpful or admissible”); DePaepe v. Gen. Motors Corp., 141
F.3d 715, 720 (7th Cir. 1998) (holding expert “could not testify as an expert that [a party] had a particular motive”)
(emphasis in original).



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for the purpose of inferring “the reasons behind the State’s actions,” courts have “caution[ed] the

experts not to . . . comment on the subjective intent of any individual legislator or staff member.”

Perez v. Texas, No. 11-CA-360-OLG-JES-XR, 2014 WL 12480146, at *3 (W.D. Tex. July 9,

2014). Here—where no intent claim is at issue, and without the benefit of the “testimonial and

documentary evidence on legislative process, procedure, and tradition” that forms the core basis

for expert testimony on legislative intent, id. at *3—Dr. Johnson purports to identify the

motivations of one individual mapdrawer. Such “interpretations of conduct or views as to the

motivation of parties” are classically excluded as improper expert testimony. In re Rezulin, 309 F.

Supp. 2d at 541.

        Unsurprisingly, then, courts have not accepted Dr. Johnson’s purported expert opinions on

the motivation of other mapdrawers. In Common Cause v. Lewis (opinion attached as Ex. I), for

instance, a court rejected Dr. Johnson’s opinions about, among other things, the intent of another

mapdrawer. There, Dr. Johnson opined that one senate district was “drawn to capture as much of”

the Charlotte suburbs as possible into a single district, and that another Senate District similarly

reflected an effort to “unite[] the southern suburbs” of Charlotte. Ex. I at 112. In a 2019 decision

in that case, the court “reject[ed] Dr. Johnson’s explanations” as they “appear[ed[ to be purely

speculative, and in any event his speculation d[id] not withstand minimal scrutiny.” Id. at 112.

That court also noted that, at that time, “Dr. Johnson ha[d] testified as a live expert witness in four

cases previously, and the courts in all four cases ha[d] rejected his analysis,”6F6F6F 7 and it

“join[ed] these other courts in rejecting Dr. Johnson’s methodologies, analyses, and conclusions.”

Id. at 270.




7
  Id. at 270 (collecting cases that called Dr. Johnson’s expert testimony “unreliable and not persuasive,” and his
analysis or methodology as “unsuitable,” “troubling,” “lack[ing] merit” or “inappropriate”).



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        In Covington v. North Carolina (opinion attached as Ex. J), the court rejected Dr. Johnson’s

race predominance analysis specifically. There, “Dr. Johnson opined as to the Special Master’s

‘[a]pparent [p]redominant [u]se of [r]ace [d]ata’ and that ‘certain racial quotas were targeted by

the Special Master when drawing the districts’ or ‘dictated the configuration’ of the districts.” Ex.

J at 74 (noting that Dr. Johnson also “opin[ed] as to the Special Master’s ‘apparent quota of the

African-American percentage of the voting-age population’”). There, too, Dr. Johnson had

highlighted “the remarkable similarity in the African-American percentages of the Voting Age

Population in the districts.” Id. at 74–75. And the court found “Dr. Johnson’s analysis and opinion

as to the alleged racial targeting in the Recommended Plans unreliable and not persuasive.” Id.

The court emphasized that “Dr. Johnson conceded that the fact that several districts’ BVAPs fall

in a particular range does not prove that a racial quota was being employed,” and that “correlation

[is] not evidence of causation.” Id. at 75 (internal quotation marks omitted). The court also

explained that Dr. Johnson had neither provided any “basis for determining whether the BVAPs

of the districts are ‘similar’ from a statistical perspective,” nor offered “any controlled statistical

analysis ruling out non-discriminatory explanations for the [similar] BVAPs,” and that “any such

similarity may be attributable to the underlying demographic make-up of the geographic areas in

which the districts are drawn or other nondiscriminatory districting considerations, not racial

targeting.” Id. at 75–76. Finally, the Court noted that “Dr. Johnson conceded that minor differences

between two proposed maps do not signal that one version is legally unacceptable or better

achieves traditional redistricting goals.” Id. at 77.

        These same flaws in Dr. Johnson’s methodology persist. Dr. Johnson admitted that he did

not “provide any empirical basis for comparing the BVAPs in these districts from a statistical

perspective,” and that he had not “offered any controlled statistical analysis ruling out




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nondiscriminatory explanations for the BVAP percentages” in his report. Ex. G, Johnson Dep. Tr.

234:1–236:6. Instead, he resorted to the conclusory assertion that “[i]t just doesn’t happen.” Id. at

235:24–25. “[T]he existence of sufficient facts and a reliable methodology is in all instances

mandatory. [W]ithout more than credentials and a subjective opinion, an expert’s testimony that

‘it is so’ is not admissible.” Hathaway v. Bazany, 507 F.3d 312, 318 (5th Cir. 2007) (citation and

quotation marks omitted).

         Dr. Johnson’s unsupported speculation about what must have happened is especially

unreliable because he plainly did not rule out all other nondiscriminatory explanations. Indeed, in

his deposition, Dr. Johnson conceded that he is “not contending that Mr. Cooper didn’t rely on

anything other than race in drawing lines in this map,” and admits that “[t]here are a number of

factors he cited, and there are a number of districts that follow those factor[s].” Ex. G, Johnson

Dep. Tr. 214:22–215:3.

         Worse yet, Dr. Johnson did not even review all of the evidence supporting other non-

discriminatory explanations. Dr. Johnson explained in his deposition that, because “correlation,

itself, does not indicate causation,” “it’s so important to have the other explanation” for “why that

line is somewhere for a reason other than race.” Ex. G, Johnson Dep. Tr. 207:8–19. Conversely,

Dr. Johnson agreed that, “generally speaking,” “the existence of some other reason for a line” that

the mapdrawer drew “is a cut against the argument that the predominant factor is race.” Id. at

208:20–24. But Dr. Johnson didn’t consider all of the other available explanations, including (but

not limited to7F7F7F 8) an expert report about communities of interest that specifically responded




8
  Dr. Johnson’s report also failed to rule out other factors that Mr. Cooper expressly mentions in his report, such as
Mr. Cooper’s “least change method,” which aims to preserve the core of districts and to minimize disruption to
incumbents where possible. Ex. H, Cooper Rebuttal at 7; see Ex. L, Cooper Report at 8 n.14 (noting that Cooper
“relied on incumbent addresses of legislators”); Ex. G, Johnson Dep. Tr. 265:2–5 (didn’t consider incumbent
addresses).



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to Dr. Johnson’s critiques and explained why Mr. Cooper’s illustrative maps were consistent with

communities of interest in Louisiana. See Ex. K, Colten Rebuttal Report.

         This omission is especially glaring in light of Mr. Cooper’s explanation in his reports that

the changes made between the 2022 and 2023 illustrative plans he drew were made “to better

reflect communities of interest and include other technical changes,” Ex. L, Cooper Report at 5,

and that the changes “reflect conversations I had with the attorneys for the Plaintiffs, who in turn

had requested commentary about the 2022 Illustrative Plan from the Plaintiffs and other experts

for the Plaintiffs,” Ex. H, Cooper Rebuttal at 3; see also id. at 8 (“As stated in my July 2023 report,

the changes between my 2022 Illustrative Plan and the now-current Illustrative Plan were primarily

made to better respect communities of interest.”).

          Dr. Johnson seemed to agree that, if the districts complied with communities of interest in

Louisiana, that “would make it difficult to conclude that the predominant factor was

race”8F8F8F 9—but he has not even reviewed the available evidence that would undermine his

conclusion. Because Dr. Johnson’s methodology “fail[s] to adequately account for contrary

evidence,” it is “not reliable or scientifically sound.” In re Lipitor (Atorvastatin Calcium) Mktg.,

Sales Pracs. & Prod. Liab. Litig., 174 F. Supp. 3d 911, 932 (D.S.C. 2016) (collecting cases).

         Absent a reliable methodology or consideration of all relevant facts, Dr. Johnson’s opinions

are not helpful to this Court, and should therefore be excluded.

III.     Dr. Solanky’s analyses are irrelevant under Gingles and are otherwise unreliable.

         Defendants also offer Dr. Solanky—a mathematician with no training or experience on

redistricting, political science, or the Voting Rights Act—to “statistically study the voting patterns

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  Ex. G, Johnson Dep. Tr. 219:18–220:7 (“Q. [If] the districts did comply with communities of interest in Louisiana
in a way that was describable in a report, where you could explain which communities were kept together by the
individual districts that you’re challenging. Do you agree that would make it difficult to conclude that the predominant
factor was race? … THE WITNESS: That’s exactly the kind of report I would have issued with the map if I [had]
drawn it.”).



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and the composition of the enacted state house (H.B. 14) and senate (S.B.1)” and to rebut the

opinions of Plaintiffs’ experts, Dr. Lisa Handley and William Cooper.9F9F9F 10 Ex. N, Solanky

Report at 3. But Dr. Solanky’s methodology amounts to nothing more than unreliable ipse dixit

and the few conclusions Dr. Solanky renders are irrelevant to the effects-based racially polarized

voting analysis required by Gingles II and III.

        A.       Dr. Solanky’s opinions are the product of unreliable methodological
                 application and must be excluded.

        “Rule 104(a) requires the judge to conduct preliminary fact-finding and to make a

‘preliminary assessment of whether the reasoning or methodology underlying the testimony is

scientifically valid and of whether that reasoning or methodology properly can be applied to the

facts in issue.’” Moore, 151 F.3d at 276 (quoting Daubert, 509 U.S. at 592–93). “[T]he party

seeking to have the district court admit expert testimony must demonstrate that the expert’s

findings and conclusions are based on the scientific method, and, therefore, are reliable. This

requires some independent validation of the expert’s methodology.” Id. However, “[t]he expert’s

assurance[] that he has utilized generally accepted scientific methodology is insufficient” by itself

to establish that the expert’s testimony is reliable. Id. (citing Daubert v. Merrell-Dow Pharms.,

Inc., 43 F.3d 1311, 1316 (9th Cir. 1995) (“Daubert II”)). Moreover, a court may exclude “opinion

evidence that is connected to existing data only by the ipse dixit of the expert. A court may

conclude that there is simply too great an analytical gap between the data and the opinion

proffered.” Joiner, 522 U.S. at 146.

        In his report, Dr. Solanky conducts three analyses to identify “trends” in voting across

Louisiana. First, Dr. Solanky conducts a statewide analysis to get an “overall picture” of voter


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   Dr. Solanky acknowledged that he did not render an opinion on Cooper’s report, despite being retained to do so.
Ex. M, Solanky Dep. Tr. 21:17–22:22. Accordingly, this Court should exclude any testimony Dr. Solanky purports
to offer on Cooper’s report.



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partisan preference. Second, Dr. Solanky conducts a parish-wide analysis to assess the voting

trends within five self-selected parishes in Louisiana (some of which have no bearing on Plaintiffs’

claims). And third, Dr. Solanky conducts a precinct-level analysis to assess how changes in

population density impact voting trends in four self-selected parishes in Louisiana. In rendering

these analyses, Dr. Solanky either failed to disclose what methodology he used to structure his

analyses or applied his methodology in an unreliable manner, and the conclusions based on those

unreliable methodologies should accordingly be excluded.

           1.    Dr. Solanky’s statewide analysis of voter partisan preference is mere ipse
                dixit.

       Dr. Solanky opines that the proper starting point for a statistical analysis of racially

polarized voting is examining statewide trends in voter partisan preference. Ex. M, Solanky Dep.

Tr. 50:24–52:22. But Dr. Solanky does not cite any peer-reviewed literature for this assertion, and

does not draw on his past experience in conducting statistical analysis under the Voting Rights Act

because he has none. Instead, Dr. Solanky justifies his analysis with his own say-so, testifying that

examining statewide trends was important because “as a scientist, before we look into anything in

particular, you cannot ignore the overall picture, and this gives you an overall picture.” Ex. M,

Solanky Dep. Tr. 51:24–52:2.

       Further, Dr. Solanky does now explain how he drew any conclusions about racially

polarized voting in the challenged districts from his analysis of “the overall picture.” Dr. Solanky

testified that, “[t]he overall picture is always relevant, because all the parishes’ precincts, you’re

looking at it are subset of this data.” Ex. M, Solanky Dep. Tr. 52:5–7. But other than his personal

belief that it does, Dr. Solanky does not communicate how statewide trends impact an analysis of

racially polarized voting, generally, let alone in the challenged districts. See Matosky, 428 F. App’x

at 298 (upholding exclusion of expert opinion who failed to explain how the expert reached a



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conclusion other than based on the expert’s “conclusory assertion”). Nor does Dr. Solanky analyze

how statewide trends impact an analysis of racially polarized voting, generally (let alone in the

challenged districts). See Ex. N, Solanky Report at 4–10; Ex. M, Solanky Dep. Tr. 52:8–22, 57:16–

22, 62:2–10.

       Accordingly, any conclusions rendered by Dr. Solanky rooted in his statewide analysis—

or any efforts to connect his statewide analysis to conclusions related to racially polarized voting—

are ipse dixit and insufficient, and should be excluded. See Joiner, 522 U.S. at 146.

           2. Dr. Solanky’s parish-level analysis is not reliable because there was no
              reproducible methodology in the selection of parishes or elections considered.

       Dr. Solanky next conducts a parish-level analysis of voting patterns by race. See Ex. N,

Solanky Report at 11–17. In Section III of his report, Dr. Solanky examines voting patterns in five

parishes—East Baton Rouge, East Carroll, Natchitoches, Orleans, and West Baton Rouge—to

support his conclusion that “there is significant variation in the percentage of white voters voting

for a democrat,” particularly in Orleans Parish. Id. at 17, 29. Dr. Solanky did not implement any

methodology in picking these parishes for analysis. Indeed, Dr. Solanky acknowledges that he

selected these parishes to prove his pre-determined conclusion about inter-parish variance, not

based on an objective sampling criteria. Initially, Dr. Solanky claimed that he chose these parishes

because “they seemed [] to be part of the analysis which was presented in the other expert reports.”

Ex. M, Solanky Dep. Tr. 113:20–114:1. But when Dr. Solanky realized that Dr. Handley did not

consider Orleans or East Carroll parishes because neither parishes are included within the

challenged districts, Dr. Solanky changed his rationale, testifying that “[y]ou know, one of the

basic ideas was to show that all of Louisiana doesn’t vote similarly, and Orleans Parish happens

to be one such illustration.” Id. at 114:22–115:2.




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       Dr. Solanky’s choice of elections was equally arbitrary. Dr. Solanky admits to having no

objective parish selection criteria, stating simply that he wanted a “good mixture” of elections

“where more voters are turning out,” “some overlap with Dr. Handley’s elections,” and “some

elections . . . when there is no [B]lack candidate . . . to get a . . . more clearer picture.” Ex. M,

Solanky Dep. Tr. 84:22–85:21. Nowhere does Dr. Solanky define what constitutes a “good

mixture,” what threshold meant “more voters are turning out,” or why considering some elections

with no Black candidates offered a “clearer picture.” Dr. Solanky’s failure to adopt a reproducible

methodology prevents any assessment of whether he selected elections in a reliable manner.

       Accordingly, Dr. Solanky’s selection of parishes and elections is supported by no

discernible, reproducible methodology, and the conclusions rooted in that analysis should be

excluded. See, e.g., Rink v. Cheminova, Inc., 400 F.3d 1286, 1293 n.7 (11th Cir. 2005) (“In

evaluating the reliability of an expert’s method, however, a district court may properly consider

whether the expert’s methodology has been contrived to reach a particular result.”); Moore, 151

F.3d at 278 n.10 (“Under Daubert, ‘any step that renders the analysis unreliable . . . renders the

expert’s testimony inadmissible. This is true whether the step completely changes a reliable

methodology or merely misapplies that methodology.’” (quoting In re Paoli R.R. Yard PCB Litig.,

35 F.3d 717, 745 (3d Cir. 1994))).

           3. Dr. Solanky’s failure to consider sufficient precincts to support his precinct-
              level density analysis renders it unreliable.

       Dr. Solanky’s final analysis purports to examine trends in voting at the precinct-level by

assessing whether voting trends change as population density increases. But Dr. Solanky’s analysis

relies on an unreliable application of ecological inference (“EI”).

       For this analysis, Dr. Solanky used the census bureau population data to determine which

voting tabulation districts (“VTDs”) in the parishes studied had higher population density, Ex. M,



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Solanky Dep. Tr. 167:20–25, and then he had to match election precincts (which are products of

election administrators) with VTDs (which are the Bureau of the Census’s geographic equivalent

of a precinct)10F10F10F 11 to use the voter level data available from the SOS. Ex. N, Solanky

Report at 20, n.10. He then performed EI analysis on this data.

         As Dr. Solanky explained, as he increased the “population density” considered, he

considered fewer and fewer VTDs, which meant that he considered fewer and fewer election

precincts. Ex. M, Solanky Dep. Tr. 175:6–18, 178:8–14, 181:3–16, 183:5–184:2, 184:21–185:16.

And as Dr. Solanky himself admits, EI analysis becomes less reliable when dealing with a smaller

sampling of data. Id. at 178:3–179:15. But the “high density” areas of the parishes that Dr. Solanky

chose to consider contained less than ten and sometimes as few as two precincts. Ex. N, Solanky

Report at 26 n.11; Ex. O, Handley Rebuttal at 7 n.11; Ex. M, Solanky Dep. Tr. 178:8–14, 181:3–

16, 183:5–17, 183:22–184:2, 184:21–25, 185:1–13. The unreliability of this analysis is reflected

in the sheer size of Dr. Solanky’s confidence intervals, which became so wide that it was possible

nearly no white voters supported Democrats or Republicans or nearly most white voters supported

Democrats or Republicans. See Ex. N, Solanky Report at 53–54. For example, in the “most dense”

areas of East Baton Rouge, Dr. Solanky estimated that somewhere between 18.4% and 60.7% of

white voters voted for a Republican in the 2022 Senate election. Id. at 53. Indeed, Dr. Solanky

acknowledged that these wide confidence intervals meant his estimates were “non-informative.”

Ex. M, Solanky Dep. Tr. 179:6–15, 186:14–25. Notwithstanding that, Dr. Solanky reaches a




11
     See Voting Districts, Glossary, Bureau of the Census, https://www.census.gov/programs-
surveys/geography/about/glossary.html#par_textimage_31 (last visited Oct. 3, 2023). The primary difference being
that VTDs are based on the precincts at the time of census. Precincts can then change in the 10 years between censuses
whereas VTDs remain constant until the next census.



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definitive conclusion that his estimates “reflect a negative polarization by white voters to defeat

the republican candidates” based on this data. Id. at 20, 21, 30.11F11F11F 12

           Moreover, Dr. Solanky ran his density analysis using only two elections, the 2020

Presidential and 2022 Senate elections,12F12F12F 13 because he lacked the experience necessary

to analyze more. As explained, in order to conduct his precinct-level analysis, Dr. Solanky had to

match VTDs with election precinct. See Ex. N, Solanky Report at 20 n.10. Dr. Solanky admits that

he had never conducted this task prior to writing this report, and found the task “laborsome.” Ex.

M, Solanky Dep. Tr. 203:9–20. Indeed, Dr. Solanky found the task so “laborsome” that he limited

his density analysis to just the 2020 Presidential and 2022 Senate elections because those VTDs

and elections precincts were easy to match, and Dr. Solanky acknowledged that the “tedious effort”

of matching VTDs and precincts was “the reason [he] did not look at even more elections.” Id. at

170:15–24.13F13F13F 14 But Dr. Solanky needed to evaluate more elections for his conclusions to

have any reliability here. The results from only one to two individual elections do not support or

negate a conclusion about whether there is legally significant bloc voting. Gingles, 478 U.S. at 57.




12
   Tellingly, other experts proffered by Plaintiffs and Defendants have been more careful in conducting EI analysis.
Defense expert Dr. Jeffrey Lewis noted in his report in this matter that he considered no “fewer than 10 voting
precincts” in his analysis, see Ex. Q, Lewis Report at 4 n.2; see also Ex. O, Handley Rebuttal at 6. Dr. Solanky thus
knew his analysis produced uncertain estimates, yet described his results as “drastic difference in voting patterns.” Ex.
N, Solanky Report at 29. Such a definitive opinion does not flow from Dr. Solanky’s data, meaning he only reached
the conclusion through ipse dixit. See Joiner, 522 U.S. at 146. Dr. Solanky’s density analysis—unreliable in its design
and conclusion—should be excluded.
13
     See generally Ex. N, Solanky Report at 17–28.
14
   It is not surprising that Dr Solanky struggled with this process. Dr. Solanky is not a political scientist. See Ex. N,
Solanky Report at 32–43 (CV). He has no experience in analyzing voting patterns or election data. Id. Nor does Dr.
Solanky have specialized training on racially polarized voting analyses under the Voting Rights Act. Id. Rather, Dr.
Solanky has a general training in statistics and teaches courses on mathematics and statistical methods. Ex. M, Solanky
Dep. Tr. 12:12–15:20. Dr. Solanky’s training and coursework has never involved application of statistical methods
(including the methods he applied in this case) to study voting patterns or election data. See Ex. N, Solanky Report at
32–43 (CV); Ex. M, Solanky Dep. Tr. 14:2–15:20. Dr. Solanky has never published an article or other scholarly work
on political science, voting patterns, redistricting, or the Voting Rights Act. Ex. M, Solanky Dep. Tr. 14:2–11. In fact,
this Court has previously recognized in Robinson, “there is little, if any, connection between [Dr. Solanky’s] expertise
and his opinions.” 605 F. Supp. 3d at 841.



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And, notably, all other experts proffered by Defendants looked at many more in support of their

conclusions. See Ex. P, Alford Report at 4–14; Ex. Q, Lewis Report at 2.

       Dr. Solanky’s density analysis—unreliable in its design and conclusion and conducted on

just two elections—should accordingly be excluded.

           4. Dr. Solanky’s rebuttal of Dr. Handley must be excluded because it is
              unsubstantiated.

       Dr. Solanky offers a singular critique of Dr. Handley’s report: he contends that Dr.

Handley’s allocation of early and absentee votes “biased” Dr. Handley’s results. See Ex. N,

Solanky Report at 29; Ex. R, Solanky Rebuttal at 2–8. It is undisputed that, in Louisiana, early and

absentee votes are reported at the parish level, not by precinct. To overcome this issue, Dr. Handley

deployed a method to allocate early and absentee votes from the parish level to precinct level based

on each candidate’s proportional election-day vote share by precinct. See Ex. S, Handley Report

at 6 n.5. Dr. Solanky asserts that there is some uncertainty caused by this allocation method, and

he alleges that it impacted the accuracy of Dr. Handley’s EI results. Ex. N, Solanky Report at 12.

But Dr. Solanky did not provide any information as to how he knew Dr. Handley’s results were

“biased,” nor did he provide an opinion as to what the bias actually is.14F14F14F 15

       Dr. Solanky’s report also did not propose an alternative allocation methodology to be used

to account for early and absentee votes. But during his deposition, Dr. Solanky offered, for the

first time, a new methodology to allocate early and absentee votes. Dr. Solanky’s new

methodology involved starting with total voter turnout in a precinct, subtracting the total votes cast

on Election Day in each precinct, and noting the remainder as the likely total number of early and

absentee votes to allocate to that precinct. Ex. M, Solanky Dep. Tr. 216:7–217:13. Dr. Solanky



15
  On September 29, 2023, Plaintiffs served a supplemental report in which Dr. Handley summarized the
results of diagnostic tests that confirmed her allocation method did not bias her results.


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then proposes to allocate the early votes for each precinct using the proportions of early and

absentee votes that each candidate got from the entire parish, where the early and absentee

candidate vote totals are available. Ex. M, Solanky Dep. Tr. 217:14-20. But Dr. Solanky provides

no explanation for why this allocation process is better than the allocation Dr. Handley used for

creating the database necessary for the EI analysis. And Dr. Solanky acknowledged that he did not

perform an analysis using his proposed allocation method in his rebuttal report even though he had

Dr. Handley’s data for over a year. Ex. M, Solanky Dep. Tr. 220:25–221:4.

       Critically, Dr. Solanky also fails to explain how this alleged “bias” impacted or influenced

Dr. Handley’s results. Ex. M, Solanky Dep. Tr. 222:20–223:2 (Q: “[Y]ou didn’t conduct any

alternative analysis with respect to the early and absentee data in your report, or in your Rebuttal

Report; is that right?” A: “That is right. So in my report, I followed what she had, but in order to

understand that this has created bias, I have constantly mentioned that these numbers are biased.”).

Yet Dr. Solanky claimed—without supporting facts or analysis—that the alleged “bias” created

by Dr. Handley’s allocation methodology tainted Dr. Handley’s analysis of all 16 elections she

studied. Ex. R, Solanky Rebuttal at 4–7; Ex. M, Solanky Dep. Tr. 242:23–243:9, 249:16–21.

Without revealing how he reached his conclusion about Dr. Handley’s analysis, Dr. Solanky has

given this Court no basis to conclude that he applied a reliable methodology at “each and every

step” in forming his opinion on Dr. Handley’s allocation method. See Knight v. Kirby Inland

Marine Inc., 482 F.3d 347, 355 (5th Cir. 2007) (“The expert’s testimony must be reliable at each

and every step or else it is inadmissible.”). This Court should therefore exclude Dr. Solanky’s

rebuttal of Dr. Handley’s report.




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        B.      Dr. Solanky’s analyses of voting patterns have no bearing on a Gingles II or
                III inquiry and are therefore not relevant.

        Daubert instructs district courts to ensure expert testimony is “both reliable and relevant.”

Curtis v. M & S Petroleum, Inc., 174 F.3d 661, 668 (5th Cir. 1999) (citing Daubert, 509 U.S. at

597). Even if the expert’s methodology for developing an opinion is reliable, that methodology

must also have been correctly applied to the facts in order for the testimony to be relevant. See

Daubert, 509 U.S. at 593. Dr. Solanky admittedly offers no conclusions regarding racially

polarized voting as required by Gingles II and III, and his analysis as designed fails to support any

conclusions related to racially polarized voting as required by Gingles II and III, rendering his

opinions irrelevant and inadmissible.

             1. Dr. Solanky admittedly offers no conclusions related to racially polarized
                voting.

        Gingles II and III call for a results-based analysis of racially polarized voting in the

challenged districts. See Gingles, 478 U.S. at 62 (“For purposes of § 2, the legal concept of racially

polarized voting incorporates neither causation nor intent. It means simply that the race of voters

correlates with the selection of a certain candidate or candidates; that is, it refers to the situation

where different races (or minority language groups) vote in blocs for different candidates.”). To

carry their burden under the second and third Gingles preconditions, Plaintiffs must establish

through a racial bloc voting analysis that (1) “the minority group . . . is politically cohesive” and

(2) “the white majority votes sufficiently as a bloc to enable it . . . to defeat the minority’s preferred

candidate.” Milligan, 599 U.S. at 18 (quoting Gingles, 478 U.S. at 51).

        Dr. Solanky disclaims any opinion on the presence or absence of racially polarized voting.

Instead, Dr. Solanky made clear that his analyses were intended to observe “trends” in party

affiliation, voter turnout, and intra-parish differences in partisan preference. He testified that his

opinions make no assessment of racially polarized voting in the challenged districts. Ex. M,


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Solanky Dep. Tr. 41:19–24, 52:11–22, 57:16–22; 62:2–10; 201:4–15. Indeed, Dr. Solanky stated

that he is “not making any opinion on what is cohesive, what is not.” Id. at 41:22–24. And by his

own admission, Dr. Solanky “would rather not characterize” his own opinion as one on racially

polarized voting. Id. at 41:5–24; see also id. at 201:4–15 (admitting that does not state in his report

that voting in Louisiana is not racially polarized). Dr. Solanky’s testimony, therefore, has no

bearing on whether Plaintiffs can sustain their Gingles II and III burden. See Solomon v. Liberty

Cnty. Comm’rs, 221 F.3d 1218, 1226 n.7 (11th Cir. 2000) (explaining that evidence in a vote

dilution case is relevant if it would “allow the trier of fact reasonably to infer anything about

whether or not the voting strength of the minority group has been impermissibly

diluted”).15F15F15F 16

         Dr. Solanky did not design his analyses to detect the presence or absence of racially

polarized voting in the challenged districts. Dr. Solanky explained, instead, that he intended to

document (1) trends in statewide party registration and voter turnout by party and race; (2) that

“different parishes vote differently”; and (3) that “different precincts within parishes vote

differently.” Ex. M, Solanky Dep. Tr. 97:7–100:25, 117:1–4. But even as to these observations,

Dr. Solanky stressed that he neither considered the possibility of statewide racially polarized

voting nor intended to analyze racial bloc voting in parishes within the challenged districts. Id. at

41:19–24, 67:5–14,70:3–24, 114:22–115:8. The content of Dr. Solanky’s analyses, therefore, is

not relevant to rebutting Plaintiffs’ showing of racially polarized voting in the challenged districts.




16
  This Court has already acknowledged the “limited utility” of similar expert testimony offered by Dr. Solanky related
to Gingles II and III. As here, Dr. Solanky’s prior opinion before this Court “d[id] not offer any opinion about majority
bloc voting in any [legislative] district under the enacted or illustrative plans,” and his conclusions were reached with
a “narrow data set” about “outlier” parishes not “probative of voting patterns districtwide.” Robinson, 605 F. Supp.
3d at 841. This Court can and should exclude Dr. Solanky’s instant report for the same reasons.



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           2. Dr. Solanky’s proffered analysis does not otherwise support conclusions
              related to racially polarized voting.

       Dr. Solanky conducts three analyses to identify “trends” in voting in Louisiana. First, Dr.

Solanky conducts a statewide analysis to get an “overall picture” of party affiliation and voter

turnout. Second, Dr. Solanky conducts a parish-wide analysis to assess the voting trends within

five self-selected parishes in Louisiana, some of which have no bearing on Plaintiffs’ claims. And

third, Dr. Solanky conducts a precinct-level analysis to assess how changes in population density

impact voting trends in four parishes in Louisiana. For the reasons laid out below, Dr. Solanky’s

analyses are fundamentally flawed and bear no relevance to whether voting in Louisiana is racially

polarized. These opinions should be excluded.

                   a. Dr. Solanky’s analysis of party affiliation and voter turnout have no
                      bearing on racially polarized voting in the challenged districts.

       Dr. Solanky testified that he conducted a statewide analysis to get an “overall picture” of

party affiliation and turnout in Louisiana. Ex. M, Solanky Dep. Tr. 50:15–23. But Dr. Solanky

clarified that he performed no analysis to determine relationship between his “overall picture” of

statewide trends and parish- or precinct-level racially polarized voting in the challenged districts.

Id. at 64:17–65:9. In Gingles, the Court found that the District Court had applied the correct

standard because it “relied on data that were specific to each individual district in concluding that

each district experienced legally significant racially polarized voting.” Gingles, 478 U.S. at 59

n.28; Miss. State Chapter, Operation Push, Inc. v. Mabus, 932 F.2d 400, 410 (5th Cir. 1991) (“In

Gingles, statistical proof of racially polarized voting in other districts was not relevant to the issue

of vote dilution in the specific challenged district.”). Dr. Solanky’s “overall picture,” therefore, is

irrelevant to a racially polarized voting analysis without some analysis linking his statewide

observations to voting patterns in the challenged districts, which Dr. Solanky does not provide.

Ex. M, Solanky Dep. Tr. 64:17–65:25.


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         Nor can the data Dr. Solanky gathered on statewide trends in party affiliation and turnout

be repurposed into a racially polarized voting analysis. For instance, Table 4 of Section II Dr.

Solanky’s report, sums the total number of white voters registered as Democrats and white voters

registered as Republicans who turned out to vote, as well as the total number of Black voters

registered as Democrats and Black voters registered as Republicans who turned out to vote. Ex.

N, Solanky Report at 10. To calculate the percentages cited, Dr. Solanky did not compare, for

example, the number of Black voters registered as Democrats who voted against the total number

of Black voters who voted. Instead, Dr. Solanky used as his denominator the total number of all

voters who voted on that election day. Ex. M, Solanky Dep. Tr. 79:14–80:23. Table 4, columns 7–

10 thus present a picture of the statewide electorate by race and party on a given election day. But

Dr. Solanky’s observations in Table 4 have no bearing on whether the statewide electorate

exhibited racially polarized voting.16F16F16F 17

         The remainder of Dr. Solanky’s statewide analyses party affiliation and turnout are

similarly unhelpful to an analysis of racially polarized voting. Each measure party affiliation, not

whether race has an impact on election results, even at a statewide level. See Gingles, 478 U.S. at

62 (racially polarized voting “means simply that the race of voters correlates with the selection of

a certain candidate or candidates; that is, it refers to the situation where different races (or

minority language groups) vote in blocs for different candidates” (emphasis added)). This Court

should thus exclude Dr. Solanky’s testimony on his statewide analyses of party affiliation and




17
   As explained infra, when Dr. Solanky compared the number of Black voters who voted for Democratic candidates
against the total number of Black voters who voted in certain parishes, he discovered that Black voters tended to vote
cohesively. See Ex. N, Solanky Report at 46–47. Dr. Solanky also observed that white voters tended to vote as a bloc
for Republican candidates within those parishes. See id. at 48–51; see also Ex. M, Solanky Dep. Tr. 72:11–73:8
(clarifying that Appendix 4 measures the number of white voters voting for Republican candidates).



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turnout because it is not relevant to assessing whether Plaintiffs carried their burden to demonstrate

racially polarized voting under Gingles.

                   b. Dr. Solanky’s parish-level analysis only focused on party preference
                      and depends on consideration of an irrelevant parish.

       Dr. Solanky testified that he examined voting patterns in certain parishes to examine inter-

parish differences in party preference, not whether Black voters and white voters consistently

preferred different candidates. Ex. M, Solanky Dep. Tr. 97:7–16, 103:17–24, 106:9–107:13,

107:22–108:2, 110:17–111:6. While examining whether Black voters preferred Black candidates

“sounded meaningless to” Dr. Solanky because that question was not probative of party preference,

id. at 101:20–102:1, 109:11–21, that precise assessment is key when examining voting data under

Gingles II and III. See, e.g., Westwego Citizens for Better Gov’t v. City of Westwego, 872 F.2d

1201, 1208 n.7 (5th Cir. 1989) (“[E]vidence most probative of racially polarized voting must be

drawn from elections including both black and white candidates.”). For instance, the 2022 Senate

election featured two Democratic candidates who received more than 3% of the vote: Gary

Chambers, Jr., who is Black, and Luke Mixon, who is white. Instead of analyzing whether Black

voters preferred Chambers, Jr. and white voters preferred Mixon, Dr. Solanky pooled all the votes

cast for a Democrat in the 2022 Senate election into one Democratic “candidate.” Ex. M, Solanky

Dep. Tr., 97:7–15. Dr. Solanky found it “meaningless” to assess whether Black voters preferred a

Black Democratic candidate and white voters preferred a white Democratic candidate because Dr.

Solanky was concerned with examining racial trends in party preference, not candidate preference.

Id. at 100:15–102:1. In other words, Dr. Solanky’s parish-level analysis avoided assessing racially




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polarized voting at the parish level and as such, is not relevant to the required Gingles

analysis.17F17F17F 18 This testimony should be excluded.

         Furthermore, this analysis included parishes which are not relevant to the challenged

districts in this matter, including Orleans Parish. There is no overlap between Orleans Parish and

the challenged districts in this case. Analysis of racially polarized voting required by Gingles must

be specific to each individual district at issue in the Section 2 claim. Gingles, 478 U.S. at 59 n.28.

Dr. Solanky evaluated voting patterns in Orleans Parish as part of supporting his observation that

“different parishes vote differently.” Ex. M, Solanky Dep. Tr. 114:22–115:8, 117:1–7. Orleans, in

Dr. Solanky’s view, displayed greater variance in the number of white voters who voted for

Democrat and white voters who voted for a Republican compared to the other parishes Dr. Solanky

studied. Id. Dr. Solanky studied Orleans because, as he explained, he did not conduct his analysis

to study parishes in the challenged districts; he simply wanted to show how a sampling of parishes

across Louisiana proved his point about inter-parish variance. Ex. M, Solanky Dep. Tr. 114:22–

115:8, 117:1–7. But the conclusion he draws about Orleans Parish compared to other parishes is

irrelevant to a racially polarized voting assessment in the challenged districts, and Dr. Solanky’s

testimony on this opinion should be excluded Cf. Gingles, 478 U.S. at 64 (rejecting the state’s

attempt to inject “irrelevant variables” into the racially polarized voting analysis because doing so




18
   In any event, Dr. Solanky’s parish-level analyses confirm the existence of racially polarized voting in parishes
containing challenged districts. In Appendix 3 to his report, Dr. Solanky’s calculated the percentage of Black voters
who voted for a Democratic candidate in five self-selected parishes, including some within the challenged districts. In
the 2015 Lieutenant Governor’s race, for example, Dr. Solanky observed that 96.3% of Black voters in Natchitoches
Parish voted for the Democratic candidate. Ex. N, Solanky Report at 46-47; Ex. M, Solanky Dep. Tr. 132:3–5. Dr.
Solanky confirmed that White voters in Natchitoches were similarly polarized in the 2015 Lieutenant Governor’s
election: according to Dr. Solanky, 78.8% of White voters voted for the Republican candidate and 21.2% of White
voters voted for the Democratic candidate. Ex. N, Solanky Report at 48–51; Ex. M, Solanky Dep. Tr. 132:20–22. Dr.
Solanky agreed his analysis similarly demonstrated racially polarized voting in Natchitoches for every election Dr.
Solanky studied. See Ex. N, Solanky Report at 46–51; Ex. M, Solanky Dep. Tr. 133:5–137:8. Natchitoches is not a
one-off; Dr. Solanky’s data reveals a consistent pattern of racial bloc voting in parishes containing challenged districts
in each election Dr. Solanky studied. See Ex. N, Solanky Report at 46–51.



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“distorts the equation and yields results that are indisputably incorrect under § 2 and the Senate

Report”).

                   c.   Dr. Solanky’s density analysis provides no insight on racially
                        polarized voting in the challenged districts.

       Dr. Solanky also conducted a density analysis assessing voting patterns in a small

collection of precincts in Caddo Parish. See Ex. N, Solanky Report at 18—19. From this analysis,

Dr. Solanky observed that, as population density of the precinct increases (i.e., in looking at the

City of Shreveport), more white voters tend to vote for Democratic candidates compared to white

voters in less dense areas. Dr. Solanky also conducted similar EI analyses of the voting patterns of

areas with more population density in East Baton Rouge Parish; Iberville Parish, and Point Coupee.

See Ex. N, Solanky Report at 20–28. But again, Dr. Solanky testified that he did not draw any

conclusions about racially polarized voting from this analysis; he simply showed that “different

parishes vote differently” and “different precincts within parishes vote differently.” Ex. M,

Solanky Dep. Tr. 157:6–17.

       Moreover, Dr. Solanky’s observations do not and cannot tend to prove or disprove the

existence of racially polarized voting in the challenged districts. Gingles assumed there will always

be some level of “crossover” voting, Gingles, 478 U.S. at 56, and accordingly defines “legally

significant white bloc voting” as “a white bloc vote that normally will defeat the combined strength

of minority support plus white ‘crossover’ votes.” Id. (emphasis added). Dr. Solanky’s density

analysis makes no effort to determine whether the increase in Democratic votes from white voters

is sufficient to disprove the existence of white bloc voting in those precincts and areas he

examined. See Ex. N, Solanky Report at 18–28.

       Nor could a fact finder extrapolate Dr. Solanky’s density analysis into a conclusion about

the impact of crossover voting on election results in the challenged districts because Dr. Solanky



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does not provide the data needed to do so. Dr. Solanky did not analyze what (if any) portions or

proportions of those areas with more population density he examined fell within the challenged

districts. Ex. M, Solanky Dep. Tr. 168:13–19; 182:24–183:4. Without linking the areas considered

with the challenged districts, neither Dr. Solanky nor this Court can determine the effect that an

alleged increase in white voting for Democratic candidates would have on the majority bloc that

indisputably exists in the challenged districts.

       Accordingly, Dr. Solanky’s analyses and opinions have no bearing on Plaintiffs’ burden of

proof under the second and third Gingles preconditions. And in the instances where Dr. Solanky

analyzes racially polarized voting, he confirms, not rebuts, Plaintiffs’ claim that Black voters and

white voters in the challenged districts vote in blocs. This Court should therefore exclude Dr.

Solanky’s testimony as irrelevant.

                                          CONCLUSION

       This Court should exclude the proposed testimony of Sean Trende, Dr. Douglas Johnson,

and Dr. Tumulesh K.S. Solanky.



DATED: October 6, 2023                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 6, 2023, a copy of the foregoing memorandum was filed

electronically with the Clerk of Court via the CM/ECF system. Notice of this filing will be sent

to all counsel of record by operation of the court’s electronic filing system.


                                              /s/ Sarah Brannon                  .
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